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                THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MARK WALTERS                                   )
                                               )
      Plaintiff,                               )
v.                                             )
                                               )      Civil Action No. 1:23-cv-03122-
OpenAI, L.L.C.,                                )      MLB
                                               )
      Defendant.                               )
                                               )


     [PROPOSED] ORDER GRANTING DEFENDANT OPENAI, L.L.C.’S
              MOTION TO DISMISS WITH PRJUDICE

       Upon consideration of the Motion to Dismiss Plaintiff’s Amended Complaint, same is

hereby GRANTED. Defendant is hereby dismissed form the captioned matter with prejudice.




SO ORDERED, this ____ day of _______________, 2023.


                                                      ___________________________

                                                      HONORABLE MIKE L. BROWN

                                                      DISTRICT COURT JUDGE
